                   Case 4:93-cr-00082-JRH-GRS Document 907 Filed 02/15/08 Page 1 of 5
AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations
         Sheet 1
                                                                                                                         U .S . DISTRICT COURT
                                                                                                                               [
                                                                                                                             ,q 7o I
                                      United States District Cour t                                                    2 I1 FEB 15 PM 1 :04
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                          SAVANNAH DIVISION

          UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMIIQA                            T. OF GA.
                      V.                                                              (For Revocation of Probation or SupervisgWKetease )



           Matthew Harrington                                                         Case Number :             CR493-00082-00 1

                                                                                     USM Number :               30222-024

                                                                                      Richard Darden
                                                                                      Defendant's Attorne y
THE DEFENDANT :
[X] admitted guilt to violation of mandatory conditions of the term of supervision .
[ ] was found in violation of condition(s) _ after denial of guilt .

The defendant is adjudicated guilty of these violations :

  Violation Number Nature of Violation Violation Ende d
            1 The defendant failed to refrain from unlawful use of a controlled December 22, 2007
                      substance (mandatory condition) .
                                                       See page 2 for additional violation .


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .


[ ] The defendant has not violated condition(s)- and is discharged as to such violation(s) condition .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .


Defendant' s Soc . Sec . No : XXX-XX-776 1

Defendant' s Date of Birth : October 16, 1967                                                  February 15, 2008

                                                                                               Date of Imposition of Judgment



 Defendant's Residence Address :
                                                                                               Signature of Judg e
 109 S . Robinhood Drive
 Savannah, G eorgia 3140 6


 Defendant's Mailing Address :                                                                 Judge, U.S. District Court
                                                                                               N e d Title of Judge
 Same

                                                                                               Date
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        Sheet I A

DEFENDANT : Matthew Harrington
CASE NUMBER : CR493-00082-001
                                                      ADDITIONAL VIOLATION S

                                                                                     Violation
 Violation Number Nature of Violation                                                 Ende d

           2 The defendant failed to refrain from unlawful use of a controlled    January 12, 2008
                     substance (mandatory condition) .
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AO 245D (Rev 12/03) Judgment in a C ri minal Case for Revocations :   Judgment-Page               3    of      5
       Sheet 2 - Imprisonmen t

DEFENDANT : Matthew Harrington
CASE NUMBER : CR493-00082-001
                                                                IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of. 3 8 days with credit for time served .

II        The Court makes the following recommendations to the Bureau of Prisons :


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district ,

              at - [ ] a.m. [ ] p .m. on
          [ ] as notified by the United States Marshal .


[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :


          [ ] before 2 p .m. on
                 as notified by the United States Marshal .
          [ ] as notified by the Probation or Pretrial Services Office .
                                                                      RETURN
          I have executed this judgment as follows :




          Defendant delivered on t o
at with a certified copy of this judgment .




                                                                                      United States Marsha l


                                                                               By
                                                                                    Deputy United States Marshal
                  Case 4:93-cr-00082-JRH-GRS Document 907 Filed 02/15/08 Page 4 of 5
AO 245D (Rev 12103) Judgment in a Criminal Case for Revocations :                                                        Judgment- Page 4 of 5
        Sheet 3 - Sunervised Release


DEFENDANT : Matthew Harrington
CASE NUMBER : CR493-00082-001
                                                          SUPERVISED RELEAS E
Upon release from imprisonment, the defendant shall be on supervised release for a term of .     17 months and 15 days. with an expiration
date of August 1 . 2009 .

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons .

The defendant shall not commit another federal, state, or local crime .
The defendant shall not unlawfully possess a controlled substance . The defendant shall refrain from any unlawful use of a controlled
substance . The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court .
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse . (Check, if applicable . )
[X] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon . (Check, if applicable .)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer . (Check, if applicable . )

          The defendant shall register with the state sex offender registration a ency in the state where the defendant resides, works, or is
          a student, as directed by the probation officer . (Check, if applicable
          The defendant shall participate in an approved program for domestic violence . (Check, if applicable . )

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment .
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page .

                                             STANDARD CONDITIONS OF SUPERVISIO N

1) the defendant shall not leave the judicial district without the permission of the court or probation officer ;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month ;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer ;
4) the defendant shall support his or her dependents and meet other family responsibilities ;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
         acceptable reasons ;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment ;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician ;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered ;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
         of a felony, unless granted permission to do so by the probation officer ;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
         of any contraband observed in plain view of the probation officer,
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court ;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
         confirm the defendant's compliance with such notification requirement ; and
14) Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release .
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AO 245D ( Rev 12/03 ) Judgment in a Criminal Case for Revocations :                               Judgment-Page 5 of 5
        Sheet 3C - Supervised Releas e

DEFENDANT : Matthew Harrington
CASE NUMBER : CR493-00082-00 1
                                             SPECIAL CONDITIONS OF SUPERVISION




1 . The defendant shall participate in a program of treatment for drug and alcohol abuse . The costs of treatment
        shall be paid by the defendant in an amount to be determined by the probation officer, based on ability to
        pay or availability of third-party payment .

2. The defendant shall part icipate in a program of testing for drug and alcohol abuse .




                                                              ACKNOWLEDGMENT

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision .

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them .



    (Signed)
                     Defendant                                        Date




                     U. S . Probation Officer/Designated Witness Date
